THE COURT.
No briefs were filed on behalf of defendants. The case was set twice for oral argument, and was continued because of letters of request from defendant Hart. On the third call of the case no appearance was made on behalf of defendant Hart, but Edward J. Kelly, appearing for defendant Kinney, was granted time, which has expired, in which to file a brief. Mr. Kelly informs the court by letter that he admits that the appeal of Kinney has not been perfected by the filing of the statement and application required by section 1247 of the Penal Code. Apparently, so far as the record shows, the same defect exists in the appeal of Hart.
[1] Because of the facts above stated, and because of the failure of defendant Hart to appear when the case was called for argument (Pen. Code, sec. 1253), the appeals were dismissed.